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 1 LAW OFFICES OF CHRIS COSCA
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 3 (916) 440-1010
 4 Attorney for Defendant
   JUSTIN NONOGUCHI
 5
 6
 7                              IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                            CASE No. 2:11-cr-00190-MCE-5
11                                 Plaintiff,             STIPULATION TO CONTINUE
                                                          STATUS CONFERENCE AND
12   v.                                                   EXCLUDE TIME; FINDINGS AND
                                                          ORDER
13   JUSTIN NONOGUCHI,
14                                 Defendant.
15
16                                              STIPULATION
17          Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
19
            1.       The Court previously continued this matter to September 11, 2014.
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            2.       By this stipulation, defendant Justin Nonoguchi now moves to continue the status
21
22 conference to September 25, 2014 for change of plea, and to exclude time between September 11,
23 2014 and September 25, 2014 under Local Code T4. Plaintiff does not oppose this request.
24          3.       The parties agree and stipulate, and request that the Court find the following:
25          a.       The government has produced voluminous discovery to date. This includes over
26
     1,952 pages of written materials and multiple, lengthy wiretap conversations. Given this large
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     volume of discovery, defense counsel needs additional time to review the materials and consult with
 1
     Mr. Nonoguchi. In addition, a continuance will provide sufficient time to fully discuss a newly
 2
 3 proposed plea agreement. The parties expect Mr. Nonoguchi to enter a guilty plea on September 25,
 4 2014.
 5          b.       Counsel for defendant believes that failure to grant the above-requested continuance
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     would deny them the reasonable time necessary for effective preparation, taking into account the
 7
     exercise of due diligence.
 8
            c.       The government does not object to the continuance.
 9
10          d.       Based on the above-stated findings, the ends of justice served by continuing the case

11 as requested outweigh the interest of the public and the defendant in a trial within the original date
12 prescribed by the Speedy Trial Act.
13          e.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
14
     seq., within which trial must commence, the time period of September 11, 2014 to September 25,
15
     2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
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     because it results from a continuance granted by the Court at defendant’s request on the basis of the
17
18 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

19 public and the defendant in a speedy trial.
20          5.       Nothing in this stipulation and order shall preclude a finding that other provisions of
21
     the Speedy Trial Act dictate that additional time periods are excludable from the period
22
     within which a trial must commence.
23
     ///
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     ///
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     IT IS SO STIPULATED.
 1
 2 DATED:         September 9, 2014   /s/ Chris Cosca for___________________
                                      JASON HITT
 3                                    Assistant United States Attorney
 4
     DATED:       September 9, 2014   /s/ Chris Cosca _______________________
 5                                    CHRIS COSCA
                                      Counsel for Defendant Justin Nonoguchi
 6
 7
 8

 9                                           ORDER
10
           IT IS SO FOUND AND ORDERED.
11
     Dated: September 11, 2014
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